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 8                            UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
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11    EZEKWESILI ILOPUTAIFE et al.,          )      NO. EDCV 21-1452-JWH (AGR)
12                                           )
                Plaintiffs,                  )
13                                           )
                        v.                   )
14                                           )      REPORT AND
      CITY OF BEAUMONT et al.,               )      RECOMMENDATION OF UNITED
15                                           )      STATES MAGISTRATE JUDGE
                Defendants.                  )
16                                           )
                                             )
17                                           )

18
19         The court submits this Report and Recommendation to the Honorable John
20   W. Holcomb, United States District Judge, pursuant to 28 U.S.C. § 636 and
21   General Order No. 05-07 of the United States District Court for the Central District
22   of California. For the reasons set forth below, the court recommends the
23   disposition set forth below in the recommendation.
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 1                                             I.
 2                             SUMMARY OF PROCEEDINGS
 3         On August 26, 2021, Plaintiffs Ezekwesili Iloputaife (“E. Iloputaife”) and
 4   Nneka Iloputaife (“N. Iloputaife”), proceeding pro se, filed a civil rights complaint
 5   pursuant to 42 U.S.C. § 1983 against the City of Beaumont (“City” or
 6   “Beaumont”), Christina Taylor, Scott A. Fazekas, Michael Almandinger, Kelly
 7   McCarthy, and Does 1 through 20. (Dkt. Nos. 1, 3.)
 8         On September 20, 2021, Defendants filed a motion to dismiss the
 9   complaint under Fed. R. Civ. P. 12(b)(6). (Dkt. No. 7.) Plaintiffs filed an
10   opposition. (Dkt. No. 16.) Defendants filed a reply. (Dkt. No. 17.) On December
11   6, 2021, Plaintiffs filed a request for judicial notice of continued harassment. (Dkt.
12   No. 18.) Defendants filed an opposition.1 (Dkt. No. 19.)
13         The motion was taken under submission.
14                                             II.
15                             ALLEGATIONS IN COMPLAINT
16         Plaintiffs are a married couple living in Beaumont. (Compl. ¶¶ 1-2.)
17   Plaintiff N. Iloputaife owns the property where they live. (Id. at 2 & ¶¶ 2,19.) The
18   named individual defendants are officials of the Beaumont Community
19   Development Department: Defendant Taylor is the director; Defendant Fazekas is
20   a building official; Defendant Almandinger is a building inspector; and Defendant
21   McCarthy is a code enforcement officer. (Id. ¶¶ 3-6.)
22         On December 26, 2016, Defendant Fazekas approved a set of building
23   plans for a 2,780 square foot structural addition to Plaintiffs’ house, including a
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25         1
                  Plaintiffs request that the court take judicial notice of a Franchise Tax
     Board Pre-Intercept Notice, dated November 26, 2021, as evidence of continued
26   harassment by the City. Plaintiffs’ request for judicial notice is denied because
     the document is not relevant to the resolution of this motion to dismiss. See
27   Neylon v. County of Inyo, No. 1:16-cv-0712 AWI JLT, 2016 WL 6834097, at *4
     (E.D. Cal. Nov. 21, 2016) (“if an exhibit is . . . unnecessary to deciding the
28   matters at issue, a request for judicial notice may be denied”).

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 1   second story dormer and a second story open terrace. (Id. ¶ 13; Dkt. No. 3 at 3,
 2   15.) On May 1, 2017, the City issued a building permit. (Compl. ¶ 13; Dkt. No.3
 3   at 3-4.) Plaintiff E. Iloputaife was the builder for the project. Plaintiffs were living
 4   in the house during the construction. (Compl. ¶ 19.)
 5         While the construction was ongoing, Defendant Almandinger had a habit of
 6   verbally approving progression of the project without checking off the signature
 7   and date lines on the job card. (Id. ¶ 14.)
 8         “At an advanced stage of construction,” Plaintiff E. Iloputaife noticed that
 9   the open second story terrace was dangerously close to an Edison high-tension
10   electric wire. (Id. ¶ 15.) On July 19, 2018, Plaintiff E. Iloputaife told Defendant
11   Almandinger about his fear of radiation and suggested adding a cover to minimize
12   possible radiation from the wire. Almandinger said Plaintiffs would have to
13   provide an approved plan or obtain a variance from Defendant Taylor. (Id.)
14         On August 15, 2018, Defendant Almandinger “brought Doe 11 to verify the
15   construction of approved engineered Detail 29 plan” that Almandinger had
16   “imposed” on Plaintiff E. Iloputaife “in disregard of a discrepancy with the
17   approved architectural rendering which he explained was not engineered.” (Id.
18   ¶ 16.) Almandinger and Doe 11 “finished their inspections and approved the work
19   on two sections to advance to the next stage.” (Id.) By then, Plaintiffs had also
20   added a roof over the terrace as he had discussed with Almandinger.
21   Almandinger and Doe 11 told Plaintiff E. Iloputaife to get approval or a variance
22   for the roof, or else he would have to remove it. (Id.) Plaintiff E. Iloputaife
23   insisted on a written instruction on the job card, which Almandinger and Doe 11
24   co-signed. (Id. ¶ 17; Dkt. No. 3 at 12.)
25         For over a year, Plaintiff E. Iloputaife “sought the attention” of Defendant
26   Taylor to present his concerns and a request for a variance, but she ignored him
27   until he contacted the mayor. (Id. ¶ 18.) At a meeting on August 16, 2019, “[t]he
28   request for a variance was being denied” when Plaintiff requested “a physical

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 1   observation of his concern” by high level officials before a final decision was
 2   reached. (Id.)
 3         On September 4, 2019, Defendants Fazekas, Almandinger and Doe 11
 4   visited the project site (Id. ¶ 19.) Defendant Fazekas walked through the home
 5   project but refused to discuss it with Plaintiff E. Iloputaife, saying that his “boss”
 6   would discuss the matter with him after Fazekas had submitted his report. (Id.)
 7         On September 10, 2019, Plaintiff E. Iloputaife received a letter from
 8   Defendant Fazekas citing three areas that needed to be addressed. (Id. ¶ 20.)
 9   Defendant Fazekas stated that the following three areas were not covered by the
10   approved plans and required approval before proceeding with construction or
11   inspection: (1) the second story dormer pop-out window, which had been
12   enlarged into an enclosed room, had “lateral design issues with improper seismic
13   bracing as currently constructed,” and the amount of added glazing required
14   revised energy calculations; (2) the roof for the rear deck was not on the
15   approved plans and had various structural issues; and (3) the stair rise/run
16   needed corrections for the noticeably inconsistent steps. The letter stated that
17   revised plans should be prepared indicating the increased scope of work, and
18   upon approval an additional permit would be issued. (Dkt. No. 3 at 15.)
19         According to Plaintiff E. Iloputaife, Defendant Fazekas “negligently
20   included” the dormer area that had been already inspected and approved by
21   Defendants Almandinger and Doe 11 on August 15, 2018. (Compl. ¶ 20.) On
22   September 11, 2019, Plaintiff E. Iloputaife replied to Defendant Fazekas’ letter
23   and asked for another on-site meeting. (Id. ¶ 21; Dkt. No. 3 at 17.) On
24   September 12, 2019, Defendant Taylor responded that the City had provided a
25   path for approval of the project and, if Plaintiffs chose not to take this route, they
26   could modify the unpermitted construction to comply with the already approved
27   plans. “Until either the plans are modified or the unpermitted construction is
28   addressed, the Building and Safety Department has nothing further to review or

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 1   inspect.” (Dkt. No. 3 at 19.)
 2         Plaintiffs contend that Defendants Taylor and Fazekas repudiated the
 3   already approved construction and requested a plan resubmittal to cover up the
 4   City’s mistake in approving the open terrace without proper consideration of its
 5   proximity to high tension wires. (Compl. ¶ 22.)
 6         On September 16, 2019, Plaintiff E. Iloputaife finished the correction on the
 7   stair rise/run and requested an inspection. (Id. ¶ 23.) Although there was no
 8   notice to stop work, the City “negligently ignored” his requests for inspection.
 9   Eventually Plaintiff E. Iloputaife continued the construction “to avoid destructive
10   effects of weather elements.” (Id.)
11         On March 18, 2020, Plaintiff E. Iloputaife received a letter from the City,
12   signed by building official Pedro Rico, advising him that the building permit had
13   expired and, if he intended to continue the work, he should contact the building
14   department to resolve the issue. (Id. ¶ 24; Dkt. No. 3 at 22.) Plaintiff E. Iloputaife
15   called Rico several times “with no headway.” (Compl. ¶ 24.) On April 17, 2020,
16   Plaintiff replied to the letter. He stated that: the City Planning and Safety
17   departments had approved the open terrace without consideration of the radiation
18   hazard from the proximity of the high-tension wire; the City was now insisting that
19   he go through the expensive engineering and permit process again, and he could
20   not financially afford it after he had done his best to abate the hazard by adding a
21   cover to the terrace even though he preferred it open; and the City had refused
22   his requests for inspection of work done on living areas unaffected by the terrace.
23   (Dkt. No. 3 at 24.) He complained that the City had refused to grant a variance or
24   finance the required plan modifications, and his family was exposed to inclement
25   weather due to uncompleted areas of the house. (Id.)
26         On March 19, 2020, Defendant McCarthy posted a courtesy notice “of nine
27   bogus issues that never existed at the subject property.” (Compl. ¶ 25.) The
28   notice stated that if these conditions were not corrected, they would violate the

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 1   Beaumont Municipal Code (“BMC”). (Dkt. No. 3 at 26-28.) Plaintiffs immediately
 2   contacted the City. Jack Huntsman from the Code Enforcement Department
 3   visited the property and found no issues. (Compl. ¶ 25.)
 4         Plaintiff E. Iloputaife continued to work on the construction, taking the
 5   position that the building permit had not expired and remained valid. (Compl.
 6   ¶ 27.) On July 30, 2020, Defendant McCarthy posted a citation for a violation of
 7   BMC § 8.32.060 for a $100.00 fine, and for a violation of BMC § 8.32.070 for zero
 8   fine.2 (Id. ¶ 26; Dkt. 3 at 33.) Plaintiffs requested administrative review. (Compl.
 9   ¶ 26; Dkt. No. 3 at 37-40.) The citations progressed to a daily citation of $1,000.
10   (Compl. ¶ 26; Dkt. No. 3 at 34-35.)
11         On February 26, 2021, Defendant McCarthy issued a stop work notice,
12   which was the first stop work notice issued against the property. (Compl. ¶ 29.)
13   On March 17, 2021, Plaintiff N. Iloputaife started receiving threatening debt
14   collection letters from a debt collection agency. (Compl. ¶ 26; Dkt. No. 3 at 43-
15   46.) She sent responses disputing the debt. (Id. at 48-50.)
16         Starting on February 26, 2021, Plaintiff E. Iloputaife made urgent requests
17   for a hearing. (Compl. ¶¶ 30-31; see Dkt. No. 3 at 53-63.) On April 14, 2021,
18   Defendant Taylor scheduled a virtual hearing before a three-person hearing panel
19   for April 22, 2021. (Compl. ¶ 32.) Although there are nine members, Defendant
20   Taylor postponed the hearing to May 6, 2021 to allow “a member of her choice” to
21   recover from illness and participate. (Id.) She also insisted on a virtual hearing.
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                  The court grants Defendants’ request for judicial notice of certain
     provisions of the BMC. (Dkt. No. 7-1.) See Fed. R. Evid. 201(b); Tollis Inc. v.
24   County of San Diego, 505 F.3d 935, 937 n.1 (9th Cir. 2007) (“Municipal
     ordinances are proper subjects for judicial notice.”) (citing Santa Monica Food Not
25   Bombs v. City of Santa Monica, 450 F.3d 1022, 1025 n.2 (9th Cir. 2006)).
26         BMC § 8.32.060 provides that premises in violation of certain building
     codes or subject to certain enumerated conditions are a public nuisance. BMC
27   § 8.32.070 provides that premises maintained contrary to the City’s zoning
     ordinance are a public nuisance. (Dkt. No. 7-1 at 19.)
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 1   (Id.)
 2           Plaintiffs presented their case at the hearing. (See Compl. ¶ 33.) The
 3   panel head was biased and could be seen interacting with Defendant Taylor
 4   during the hearing, with the audio cut off from Plaintiffs. (Id.) When the audio
 5   came back on, the panel heard could be heard saying, “You’ve gotta keep ‘em all
 6   straight, that’s for sure.”3 (Id.; Dkt. No. 3 at 72.)
 7           On May 25, 2021, the panel issued a decision and order to abate public
 8   nuisance. (Id. at 121.) The panel found that: the building permit had expired; the
 9   second story dormer was larger than indicated on the approved building plans
10   and as constructed had issues with improper seismic bracing and energy
11   efficiency; and although the second story terrace roof had been partially removed,
12   a small portion with support posts remained. (Id. at 126-27.) Plaintiff could
13   correct these issues by resubmitting revised plans including structural calculations
14   or by applying for a demolition permit to remove the work not in compliance with
15   the original plans. (Id. at 126.) The panel issued an order to abate public
16   nuisance. (Id. at 127-29.) Plaintiffs contend that the hearing panel “literally
17   incorporated” a false City staff report into their decision, “without the least
18   consideration for Plaintiffs’ crucial testimony.” (Compl ¶ 33.)
19           On June 7, 2021, Plaintiffs filed a notice of appeal to the City Council. (Id.
20   ¶ 34.) They were obliged to pay $1,945.98 to have the appeal processed. (Id.;
21   see Dkt. No. 3 at 79, 81-82.) Plaintiffs submitted written testimony, received the
22   City staff’s written responses, and submitted their rebuttal. (Compl. ¶¶ 36; Dkt.
23   No. 3 at 85-95, 98-101, 104–06.)
24           On July 20, 2021, the appeal hearing was held before the City Council.
25   (Compl. ¶ 37.) Plaintiffs complain that their previously submitted evidence was
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                  On appeal to the City Council, Defendant Taylor contended that the
27   panel head’s comment referred to her difficulties with Zoom after she had
     inadvertently muted herself, was asked to unmute and start her comments afresh,
28   and became flustered while “trying to get it together.” (Dkt. No. 3 at 98.)

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 1   not considered; they were not prepared to deliver statements of more than three
 2   minutes; and Defendant Taylor read the “made-up City Staff Report” and
 3   announced that the City had attached a lien on the property. Plaintiffs were
 4   intimidated by the presence of the City attorney because they had no counsel.
 5   (Id. ¶¶ 37-38.)
 6         On August 3, 2021, the City Council issued Resolution No. 2021-42 that
 7   Plaintiffs characterize as “basically an elaborated version of the made-up City Staff
 8   Report.” (Id. ¶ 38; Dkt. No. 3 at 110-19.) The City Council affirmed the
 9   administrative decision. (Dkt. No. 3 at 116.) It found that substantial evidence
10   supported a finding that BMC §§ 8.32.060 and 8.32.070 were violated; the
11   construction activities exceeded the work permissible under the plans and permit;
12   work was done after the permit expired; and the second story rear terrace and
13   second story dormer were not in compliance with what the City had approved and
14   constituted a public nuisance under BMC § 8.32.420. (Id. at 116-17.) The City
15   Council found that Plaintiffs were liable for fines of $76,060 and attorneys fees and
16   costs in the amount of $27, 823.65, but reduced the total amount to $27,823.65 if
17   paid within 90 days. (Id. at 117.) The resolution provided that the City would not
18   seek a Superior Court order for abatement of the nuisance or appoint a receiver if
19   (1) within 30 days, Plaintiffs provided a report from a licensed structural engineer
20   certifying whether the property was safe for habitation; (2) within 90 days, Plaintiffs
21   had a licensed structural engineer prepare, submit and obtain approval of plans to
22   correct the violations and obtain a permit to complete the work; and (3) within 270
23   days, Plaintiffs completed construction and obtained final inspections and
24   approval. (Id. at 117-18.)
25         Plaintiff contend that the fines are unjust and excessive, and that
26   Defendants continued to issue citations and assess fines while denying Plaintiffs
27   their right to administrative review. (Compl. ¶ 39.) Defendant McCarthy has “an
28   established pattern of issuing unwarranted citations against Plaintiffs’ interests”

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 1   and has done so on previous occasions, resulting in a settlement in one case and
 2   retraction of other citations. (Id. ¶ 40.) Defendants Fazekas and Does 1 through
 3   10 negligently approved the building plan “despite the discrepancy between the
 4   approved architectural rendering and engineered Detail 29" and despite the
 5   proximity of high-tension wires. (Id. ¶ 41.) Defendant Almandinger “negligently
 6   directed and insisted that [Plaintiff E. Iloputaife] strictly abide by the approved
 7   Detail 29 engineered plan in the construction, after which” he approved two out of
 8   three sections of the construction on August 15, 2018. (Id. ¶ 42.) Defendants
 9   Taylor, Fazekas, Almandinger, McCarthy and Doe 11 conspired to repudiate the
10   previously approved work while denying Plaintiffs due process and equal
11   protection by refusing to grant their request for a variance to protect them from
12   “possible danger from radioactivity.” (Id. ¶ 43.) All Defendants conspired to distort
13   the true facts and prepared false and misleading reports. (Id. ¶ 44.) All
14   Defendants are responsible for the illegal polices and practices to which Plaintiffs
15   are being subjected by the City. (Id. ¶ 45.)
16         Plaintiffs assert the following claims: (1) declaratory relief; (2) violation of
17   due process and equal protection; (3) violation of Cal. Civil Code §§ 52 and 52.1;
18   (4) violation of 18 U.S.C. §§ 241 and 242; and (5) tort claims for breach of duty,
19   “intentional tort,” and negligence. (Id. ¶¶ 47-57.)
20         Plaintiffs seek declaratory relief, an injunction against Resolution No. 2021-
21   42, and compensatory and punitive damages. (Compl. at 18.)
22                                              III.
23                                   LEGAL STANDARDS
24         “To survive a motion to dismiss [under Fed. R. Civ. P. 12(b)(6)], a complaint
25   must contain sufficient factual matter, accepted as true, to ‘state a claim to relief
26   that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citation
27   omitted). “A claim has facial plausibility when the plaintiff pleads factual content
28   that allows the court to draw the reasonable inference that the defendant is liable

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 1   for the misconduct alleged. The plausibility standard is not akin to a ‘probability
 2   requirement,’ but it asks for more than a sheer possibility that a defendant has
 3   acted unlawfully. Where a complaint pleads facts that are ‘merely consistent with’
 4   a defendant’s liability, it ‘stops short of the line between possibility and plausibility
 5   of “entitlement to relief.”’’” Id. (citations omitted).
 6          The tenet that a court must accept as true all of the allegations contained in
 7   a complaint is inapplicable to legal conclusions. Threadbare recitals of the
 8   elements of a cause of action, supported by mere conclusory statements, do not
 9   suffice. Id. at 678; Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007). “In
10   sum, for a complaint to survive a motion to dismiss, the non-conclusory ‘factual
11   content,’ and reasonable inferences from that content, must be plausibly
12   suggestive of a claim entitling the plaintiff to relief.” Moss v. U.S. Secret Service,
13   572 F.3d 962, 969 (9th Cir. 2009) (citation omitted).
14          A pro se complaint is to be liberally construed. Erickson v. Pardus, 551 U.S.
15   89, 94 (2007) (per curiam). Before dismissing a pro se civil rights complaint for
16   failure to state a claim, the plaintiff should be given a statement of the complaint’s
17   deficiencies and an opportunity to cure them unless it is clear the deficiencies
18   cannot be cured by amendment. Eldridge v. Block, 832 F.2d 1132, 1135-36 (9th
19   Cir. 1987). Nevertheless, “[u]nder Ninth Circuit case law, district courts are only
20   required to grant leave to amend if a complaint can possibly be saved. Courts are
21   not required to grant leave to amend if a complaint lacks merit entirely.” Lopez v.
22   Smith, 203 F.3d 1122, 1129 (9th Cir. 2000) (en banc).
23                                                IV.
24                                          DISCUSSION
25          Defendants have moved for dismissal on the grounds that (1) Plaintiffs fail to
26   state a viable procedural due process claim; (2) Plaintiffs fail to allege facts
27   supporting an equal protection claim; (3) Plaintiffs’ claims are barred by qualified
28   immunity; (4) Plaintiffs’ claims against Defendant Taylor are barred by absolute

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 1   prosecutorial immunity; (5) Plaintiffs have no private right of action under 18
 2   U.S.C. §§ 241 and 242; (6) Plaintiffs’ state law claims are barred for failure to
 3   allege compliance with the California Tort Claims Act; (7) Plaintiffs fail to state
 4   claims for violation of the Unruh Civil Rights Act or the Bane Act; (8) Plaintiffs fail
 5   to state any tort claim; (9) Plaintiffs’ state law claims are barred by immunities set
 6   forth in the California Government Code; and (10) Plaintiffs cannot obtain punitive
 7   damages from the City and do not allege facts supporting punitive damages
 8   against the individual defendants.
 9         A. Section 1983 Claims
10         To state a claim under § 1983, a plaintiff must allege that a specific
11   defendant, while acting under color of state law, deprived him of a right guaranteed
12   under the Constitution or a federal statute. West v. Atkins, 487 U.S. 42, 48 (1988).
13   Plaintiffs contend that Defendants violated their “Fourteenth Amendment rights to
14   procedural due process and equal protection of the laws.”4 (Compl. ¶ 50.)
15              1. Due Process
16         The Fourteenth Amendment protects individuals against the deprivation of
17   liberty or property by the government without due process. Portman v. Cty. of
18   Santa Clara, 995 F.2d 898, 904 (9th Cir. 1993). A § 1983 claim based on denial of
19   procedural due process has three elements: (1) a constitutionally protected liberty
20   or property interest; (2) deprivation of that interest by the government; and (3) lack
21   of process. Id.
22         Thus, “[t]he requirements of procedural due process apply only to the
23   deprivation of interests encompassed by the Fourteenth Amendment's protection
24   of liberty and property.” Bd. of Regents of State Colleges v. Roth, 408 U.S. 564,
25   569 (1972). “Property interests . . . are not created by the Constitution”; “they are
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                  Although in the introductory section Plaintiffs also refer to a violation
     of substantive due process (Compl. ¶ 10), the second cause of action expressly
28   alleges only a procedural due process claim.

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 1   created and their dimensions are defined by existing rules or understandings that
 2   stem from an independent source such as state law—rules or understandings that
 3   secure certain benefits and that support claims of entitlement to those benefits.”
 4   Id. at 578. A legitimate claim of entitlement can exist when state law significantly
 5   limits the decision maker's discretion or when the decision maker's policies and
 6   practices create a de facto property interest. Gerhart v. Lake County, Mont., 637
 7   F.3d 1013, 1019-20 (9th Cir. 2011); see Bateson v. Geisse, 857 F.2d 1300, 1303
 8   (9th Cir.1988) (holding builder had protectible property interest in building permit
 9   when city regulations required issuance of permit once applicant met certain
10   requirements).
11         Defendants argue Plaintiffs did not have a legitimate claim of entitlement to
12   a discretionary permit or variance for modifications that were outside the scope of
13   the original building permit, were not included in the plans and structural
14   calculations, and had not been approved. Plaintiffs admit that the terrace roof was
15   not included in the original building plans for an open second story terrace, but
16   contend they were obliged to construct it to protect from radiation from a nearby
17   high-tension electric wire after Defendants ignored their requests for a variance.
18   (See Compl. ¶¶ 18-22.)
19         The California Building Code provides that “[w]ork shall be installed in
20   accordance with the approved construction documents, and any changes made
21   during construction that are not in compliance with the approved construction
22   documents shall be resubmitted for approval as an amended set of construction
23   documents.” 24 Cal. Code Regs. § 107.4 [A]. (Dkt. No. 7-1 at 22.) Regardless of
24   their reasons for proceeding with unauthorized construction, Plaintiffs did not have
25   a protected property interest in receiving a discretionary permit for a terrace roof
26   that was not in the approved plans. See LKS Enterprises, LLC v. City of Silverton,
27   No. 6:16-CV-00785-MC, 2017 WL 890085, at *7 (D. Or. Mar. 6, 2017) (“KS
28   deviated from the approved building plans and admits to code violations. It was

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 1   not entitled to any permit and lacked any protected property interest.”); See YD
 2   Enterprises, LLC v. City of Ontario D, No. EDCV142093PAKKX, 2015 WL
 3   13919461, at *3 (C.D. Cal. Feb. 18, 2015) (dismissing procedural due process
 4   claim because plaintiffs had no “property interest in a favorable inspection”).
 5         As for the dormer, Plaintiffs contend that, on August 15, 2018, Defendants
 6   Almandinger and Doe 11 inspected and approved the dormer construction but
 7   Defendants subsequently repudiated this approval so as to force Plaintiffs to
 8   submit new plans in order to conceal Defendants’ negligence in approving the
 9   open terrace despite the radiation danger posed by the high-tension electric wire.
10   (Compl. ¶¶ 10, 16, 22.) It is not clear whether Plaintiffs are alleging that the
11   dormer conformed to the building plans or that any discrepancy was known to and
12   approved by (or actually “imposed” by) Defendant Almandinger prior to the
13   construction. (See id. ¶¶ 16, 29, 41-42.) If Plaintiffs choose to amend their
14   complaint, Plaintiffs should clarify this point.
15         Defendants further argue that even assuming Plaintiffs have alleged a
16   protected property interest, their allegations demonstrate no violation of procedural
17   due process. In most circumstances, due process requires a pre-deprivation
18   hearing before the government deprives a person of a significant protected
19   interest. Zinermon v. Burch, 494 U.S. 113, 127 (1990). “The fundamental
20   requirement of due process is the opportunity to be heard at a meaningful time and
21   in a meaningful manner.” Mathews v. Eldridge, 424 U.S. 319, 333 (1976) (internal
22   quotation marks and citation omitted).
23         Plaintiffs do not argue that they received insufficient notice; indeed, the
24   complaint and exhibits show they received notice of the need for amended
25   construction documents long before the first citation was issued. (Compl. ¶¶ 16-
26   17, 20; Dkt. No. 3 at 15, 18.) Plaintiffs received a pre-deprivation hearing before a
27   three-member administrative panel on May 6, 2021 and before the City Council on
28   July 20, 2021, and the fines assessed against them were placed on hold during

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 1   the pendency of these proceedings. (Compl. ¶¶ 32-33, 37; see Dkt. No. 3 at 40.)
 2   Plaintiffs presented their case at both hearings. (Compl. ¶¶ 33, 37.) Prior to the
 3   City Council hearing, Plaintiffs also submitted written testimony, received the
 4   responses of the City staff, and submitted a written rebuttal. (Id. ¶ 36; Dkt. No. 3
 5   at 86-95, 98-101, 104–06.) Plaintiffs challenge the adequacy of these hearings.
 6   They contend that “a prejudiced administrative hearing panel . . . did [Defendant
 7   Taylor’s] entire bid[d]ing by incorporating a falsified staff report in their decision
 8   after an obviously biased virtual hearing,” and the five-member City Council
 9   “arbitrarily affirmed the administrative hearing panel’s decision [in] the face of
10   glaring irregularities and prejudice.” (Compl. ¶ 11.) Plaintiffs must specify each
11   “glaring irregularity” that they contend deprived them of a meaningful opportunity to
12   be heard. Sweeping, conclusory characterizations are not enough to state a
13   plausible procedural due process claim.
14         It is recommended that Plaintiffs’ due process claim be dismissed with leave
15   to amend.
16               2. Equal Protection
17         The Equal Protection Clause of the Fourteenth Amendment essentially
18   requires that similarly situated persons be treated alike. City of Cleburne v.
19   Cleburne Living Ctr., 473 U.S. 432, 439 (1985). To state an equal protection claim
20   under § 1983, a plaintiff must allege that the defendant acted with an intent or
21   purpose to discriminate because of the plaintiff's membership in a protected class.
22   Barren v. Harrington, 152 F.3d 1193, 1194 (9th Cir. 1998); see also Monteiro v.
23   Tempe Union High Sch. Dist., 158 F.3d 1022, 1026 (9th Cir. 1998) (plaintiff “must
24   plead intentional unlawful discrimination or allege facts that are at least susceptible
25   of an inference of discriminatory intent”). Plaintiffs contend they were
26   discriminated against on account of their race. (Compl. ¶ 33.)
27         Plaintiffs’ claim fails at the threshold level because they have not alleged
28   differential treatment. The complaint contains no facts showing that Defendants

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 1   have treated Plaintiffs differently from similarly situated persons. In their
 2   opposition, Plaintiffs allege that “most of Plaintiffs’ neighbors who are not African
 3   Americans of Nigerian [o]rigin have unpermitted patio protective covers for the
 4   same safety reason as Plaintiffs and one even included unpermitted improvement
 5   structure.” (Dkt. No. 16 at 15.) They allege Plaintiff E. Iloputaife pointed these out
 6   to Defendant Almandinger, who responded that his visit only concerned Plaintiffs’
 7   permit. (Id. at 15-16.) These factual allegations are not included in the complaint
 8   and may not be considered in determining whether Plaintiffs have stated a claim.
 9   See Schneider v. California Dept. of Corr., 151 F.3d 1194, 1997 n.1 (9th Cir. 1998)
10   (“In determining the propriety of a Rule 12(b)(6) dismissal, a court may not look
11   beyond the complaint to a plaintiff's moving papers, such as a memorandum in
12   opposition to a defendant's motion to dismiss.” (emphasis omitted)).
13         Plaintiffs argue that a comment made by the head of the hearing panel to
14   Defendant Taylor during the May 6, 2021 hearing and caught on the audio –
15   “You’ve got to keep ‘em all straight, that’s for sure” (Compl. ¶ 33) – shows racial
16   animus against Plaintiffs. (See Dkt. No. 3 at 72.) The comment is does not
17   expressly refer to Plaintiffs or to race. In her written responses to Plaintiffs’
18   submissions to the City Council, Defendant Taylor contended that the panel head
19   had inadvertently muted herself and subsequently made the comment in reference
20   to the challenges of running a Zoom hearing. (Id. at 98.) Regardless, even under
21   Plaintiffs’ interpretation, a single ambiguous comment made by the panel head to
22   Defendant Taylor cannot plausibly allege racial animus on the part of the
23   Defendants.5 See Iqbal, 556 U.S. at 677 (“each Government official . . . is only
24   liable for his or her own misconduct.”)
25
26         5
                   In their opposition, Plaintiffs allege that “sometime around January
     20, 2021,” Defendant McCarthy told him that “you people come here and behave
27   like you know better than everyone else.” (Dkt. No. 16 at 14-15.) This allegation
     is not in the complaint and may not be considered in determining whether it states
28   a claim. See Schneider, 151 F.3d at 1997 n.1.

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 1         It is recommended that Plaintiffs’ equal protection claim be dismissed with
 2   leave to amend.
 3             3. Defendant Taylor: Immunity
 4         Defendant Taylor contends she is entitled to absolute immunity because her
 5   function was analogous to that of a prosecutor. Prosecutors are absolutely
 6   immune for initiating a criminal prosecution and presenting the state’s case.
 7   Imbler v. Pachtman, 424 U.S. 409, 427-28 (1976). “Absolute immunity extends to
 8   agency officials when they preside over hearings, initiate agency adjudication, or
 9   otherwise perform functions analogous to judges and prosecutors.” Romano v.
10   Bible, 169 F.3d 1182, 1186 (9th Cir. 1999) (citing Butz v. Economou, 438 U.S.
11   478, 514–15 (1978)). Prosecutors are not entitled to absolute immunity for
12   investigative and administrative functions, Van de Kamp v. Goldstein, 555 U.S.
13   335, 342 (2009), and agency officials are similarly not entitled to quasi-
14   prosecutorial immunity for such tasks.
15         Defendant Taylor argues that Plaintiffs’ claims are based on her role in the
16   initiation and prosecution of their administrative hearing and appeal. Plaintiffs,
17   however, also allege that Defendant Taylor was responsible for denial of a
18   variance and repudiation of Defendant Almandinger’s alleged approval of the
19   dormer construction. (See Compl. ¶¶ 18, 22.) The factual allegations regarding
20   Taylor are that she: ignored Plaintiffs’ requests for a variance (id. ¶ 18); assigned
21   Defendant Fazekas to respond to Plaintiffs’ request to inspect the property in order
22   to cover up his negligent approval of an open terrace without consideration of the
23   proximity of high-tension wires (id. ¶ 22); ignored Plaintiffs’ requests for review of
24   Defendant Fazekas’ September 10, 2019 letter (id. ¶ 29); ignored Plaintiffs’
25   request for an administrative hearing (id. ¶ 30); eventually scheduled the hearing,
26   “organized a prejudiced administrative hearing panel,” and insisted on a virtual
27   hearing (id. ¶¶ 11, 32); and presented evidence at both the panel hearing and the
28   hearing before the City Council (id. ¶¶ 26, 37).

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 1         Plainly, many of Defendant Taylor’s complained-of acts were administrative
 2   and fall outside the scope of quasi-prosecutorial immunity. As for her other acts,
 3   the court cannot determine at this point to what extent Plaintiffs’ claims against her
 4   derive from conduct shielded by absolute immunity. Defendant Taylor may renew
 5   her argument at a later stage of the action.
 6              4. Qualified Immunity
 7         Because the court has concluded that the complaint fails to state a claim
 8   and should be dismissed with leave to amend, it is unnecessary to address the
 9   individual Defendants' contention that they are entitled to qualified immunity.
10         B. Federal Criminal Statutes
11         Plaintiffs contend that Defendants violated 18 U.S.C. §§ 241 and 242.
12   (Compl. ¶ 54.) Plaintiffs cannot assert claims under these criminal statutes, which
13   do not give rise to civil liability. See, e.g., Allen v. Gold Country Casino, 464 F.3d
14   1044, 1048 (9th Cir. 2006) (“We affirm the dismissal of Allen’s claims under 18
15   U.S.C. §§ 241 and 242 because these are criminal statutes that do not give rise to
16   civil liability.”); Aldabe v. Aldabe, 616 F.2d 1089, 1092 (9th Cir.1980) (finding 18
17   U.S.C. §§ 241 and 242 “provide no basis for civil liability”); Ashraf v. Reliance
18   Motors, LLC, No. 2:20-cv-08506-JWH-ASx, 2020 WL 7382101, at *3 (C.D. Cal.
19   Dec. 10, 2020) (dismissing claims under §§ 241 and 242 because private citizens
20   do not have standing to pursue claims for violations of these criminal statutes).
21         It is recommended that Plaintiffs’ claims under 18 U.S.C. §§ 241 and 242 be
22   dismissed without leave to amend because this defect is incurable.
23         C. State Law Claims
24              1. Compliance with California Tort Claims Act
25         Under the California Tort Claims Act, also known as the California
26   Government Claims Act (“CGCA”), a plaintiff may not bring a suit for damages
27   against a public entity or its employees unless the plaintiff first presents a claim to
28   the entity and the entity acts on the claim or is deemed to have rejected it. See

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 1   Cal. Gov’t Code §§ 945.4, 950.2; Mangold v. California Public Utilities Comm’n, 67
 2   F.3d 1470, 1477 (9th Cir. 1995). A plaintiff asserting claims subject to the CGCA
 3   “must allege facts demonstrating or excusing compliance with the claim
 4   presentation requirement.” California v. Superior Ct. (Bodde), 32 Cal. 4th 1234,
 5   1243 (2004). The requirement that a plaintiff must affirmatively allege compliance
 6   with the CGCA applies to state law claims brought in federal court. Karim-Panahi
 7   v. Los Angeles Police Dept, 839 F.2d 621, 627 (9th Cir. 1988).
 8         Plaintiffs’ claims for violations of Civil Code §§ 52 and 52.1 and “breach of
 9   duty, intentional tort, negligence” are subject to the claims presentation
10   requirement. See Lozada v. City & Cty. of San Francisco, 145 Cal. App. 4th 1139,
11   1152 (2006) (claims presentation requirement “has been held applicable to claims
12   arising out of negligence, nuisance, breach of statutory duties, intentional wrongs
13   and contract”); Gatto v. Cty. of Sonoma, 98 Cal. App. 4th 744, 763 (2002) (claims
14   filing requirement applies to damages actions under Civil Code §§ 52 and 52.1).
15         Plaintiffs have not alleged in the complaint that they filed a government
16   claim as required by the CGCA. This failure mandates dismissal of their state law
17   claims. Karim-Panahi, 839 F.2d at 627.
18         In their opposition, Plaintiffs assert that they sent a claim under the CGCA to
19   Beaumont City Deputy Clerk Nicole Wheelwright on June 21, 2021. (Dkt. No. 16
20   at 3.) Plaintiffs have not included this allegation in the complaint, nor have they
21   included the claim and the City’s response in the exhibits. It is therefore
22   recommended that the state law claims be dismissed with leave to amend. If
23   Plaintiffs have complied with the claims presentation requirement, they should so
24   allege in the amended complaint and attach the claim and disposition.
25             2. Unruh Act and Bane Act
26         Plaintiffs purport to assert a claim under the Unruh Civil Rights Act, Cal. Civ.
27   Code § 51 et seq. Plaintiffs, however, cite Cal. Civ. Code §§ 52 and 52.1. Section
28   52.1 is the Bane Act. Defendants argue that Plaintiffs have not alleged the

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 1   elements of a claim under either the Unruh Act or the Bane Act.
 2                a. Unruh Act
 3         The Unruh Act provides that all persons “are entitled to the full and equal
 4   accommodations, advantages, facilities, privileges, or services in all business
 5   establishments of every kind whatsoever” and prohibits discrimination based on
 6   “sex, race, color, religion, ancestry, national origin, disability, medical condition,
 7   genetic information, marital status, sexual orientation, citizenship, primary
 8   language, or immigration status.” Cal. Civ. Code § 51(a).
 9         The Unruh Act does not apply to cities unless they were functioning as a
10   business establishment when the allegedly wrongful acts occurred. See, e.g.,
11   Raiser v. City of Murrieta, No. EDCV 19-183-DSF (KK), 2021 WL 4202516, at *8
12   (C.D. Cal. June 7, 2021) (“Unruh Act . . . does not apply to cities unless they are
13   functioning as a business establishment”), accepted by 2021 WL 4196980 (C.D.
14   Cal. Sept. 15, 2021); Roe v. Rialto Unified Sch. Dist., No. EDCV 19-863-JGB (Spx)
15   2020 WL 2790008, at *5 (C.D. Cal. Feb. 26, 2020) (“[b]ecause Plaintiff has not
16   alleged that the City owns or operates the school where the alleged Unruh Act
17   violation took place, she has failed to allege an Unruh Act violation by either the
18   City or its employee”); Cooley v. City of Los Angeles, No. 2:18-CV-9053-CAS
19   (PLA), 2019 WL 3766554, at *6 (C.D. Cal. Aug. 5, 2019) (dismissing Unruh Act
20   claim against city because “there are no allegations in the complaint that support
21   an inference that the area cleanings are a business-like activity” as opposed to “a
22   public service”); Harrison v. City of Rancho Mirage, 243 Cal. App. 4th 162, 173
23   (2015) (city was not acting as “business establishment” under Unruh Act when it
24   amended municipal code to increase minimum age of persons responsible for
25   short-term vacation rentals). Plaintiff have not explained how the City could be
26   deemed to act as a business establishment with respect to the permitting process
27   for Plaintiffs’ modifications to their residence.
28         Moreover, to state an Unruh Act claim independent of a claim under the

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 1   Americans with Disabilities Act, a plaintiff must allege and prove intentional
 2   discrimination in public accommodations. Greater Los Angeles Agency on
 3   Deafness, Inc. v. CNN, Inc., 742 F.3d 414, 425 (9th Cir. 2014) (citing Munson v.
 4   Del Taco, Inc., 46 Cal. 4th 661 (2009)). As discussed above, the complaint does
 5   not contain facts showing intentional discrimination against Plaintiffs. See Earll v.
 6   eBay, Inc., 599 Fed. Appx. 695, 696 (9th Cir. 2015) (“Because Earll has not
 7   alleged intentional discrimination, Earll's Unruh Act claim fails as a matter of law.”).
 8         Plaintiffs, therefore, have not alleged an Unruh Act violation.
 9                b. Bane Act
10         “The California Bane Act creates a cause of action against a person if that
11   person ‘interferes by threat, intimidation, or coercion . . . with the exercise or
12   enjoyment by any individual or individuals of rights secured by the Constitution or
13   laws of the United States.”’ Sandoval v. Cty. of Sonoma, 912 F.3d 509, 519 (9th
14   Cir. 2018) (quoting Cal. Civ. Code § 52.1(a)). "The essence of a Bane Act claim is
15   that the defendant, by the specified improper means (i.e., ‘threats, intimidation or
16   coercion'), tried to or did prevent the plaintiff from doing something he or she had
17   the right to do under the law or to force the plaintiff to do something that he or she
18   was not required to do under the law.” Austin B. v. Escondido Union Sch. Dist.,
19   149 Cal. App. 4th 860, 883 (2007). “The plaintiff must show the defendant
20   interfered with or attempted to interfere with the plaintiff's legal right by threatening
21   or committing violent acts.” Julian v. Mission Cmty. Hosp., 11 Cal. App. 5th 360,
22   395 (2017) (internal quotation marks and citation omitted). “Speech is insufficient
23   to establish the requisite threat unless it includes threat of violence.” Id.
24         Plaintiffs do not allege that Defendants threatened violence against them.
25   Allegations that Defendants engaged a debt collection agency that sent Plaintiffs
26   “threatening debt collection letters” (Compl. ¶¶ 10, 28, 54) are insufficient to allege
27   a Bane Act violation. See City & Cty. of San Francisco v. Ballard, 136 Cal. App
28   4th 381, 408 (2006) (allegations that city threatened partial demolition of building

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 1   and large monetary penalties to coerce expensive “unrequired construction” did
 2   not “establish any conduct that rises to the level of a threat of violence or coercion”
 3   under Section 52.1). Plaintiffs, therefore, have not alleged a Bane Act violation.
 4         It is recommended that Plaintiffs’ claims under the Unruh Act and the Bane
 5   Act be dismissed with leave to amend for these additional reasons.
 6             3. Tort Claims
 7         In the fifth cause of action, Plaintiffs assert tort claims for “[b]reach of [d]uty,
 8   [i]ntentional [t]ort, [n]egligence” against all Defendants. (Compl. at 17.) They
 9   allege that the individual defendants maliciously disavowed and repudiated their
10   previous approval of construction, negligently refused to perform their duty to
11   inspect, fabricated code violations, and compiled a false report, causing Plaintiffs
12   monetary damages and severe emotional trauma. (Id. ¶¶ 56-57.)
13         These allegations do not state a plausible tort claim. In fact, Plaintiffs do not
14   even identify what intentional torts Defendants allegedly committed. As for
15   negligence, the elements of a cause of action for negligence are "(a) a legal duty
16   to use due care; (b) a breach of such legal duty; [and] (c) the breach as the
17   proximate or legal cause of the resulting injury." Ladd v. Cty. of San Mateo, 12
18   Cal.4th 913, 917 (1996) (internal quotation marks, emphases, and citation
19   omitted). Plaintiffs have not identified the legal duties owed to them and how
20   these duties were breached by each individual Defendant. The fifth cause of
21   action does not give Defendants “fair notice of what the . . . claim is and the
22   grounds upon which it rests.” Twombly, 550 U.S. at 555 (internal quotation marks
23   and citation omitted).
24         Defendants further contend that Plaintiffs’ claims are barred by various state
25   immunities. They cite Cal. Gov’t Code § 815 (public entity immunity for injuries),
26   § 818.4 (public entity immunity for injuries caused by issuance, denial, suspension
27   or revocation of permit or license), § 818.6 (public entity immunity for injuries
28   caused by failure to inspect or negligent inspection of property), § 820.2 (public

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 1   employee immunity for discretionary acts), § 820.4 (public employee immunity for
 2   acts or omissions, exercising due care, in the execution or enforcement of any
 3   law), § 821.2 (public employee immunity for injuries caused by issuance, denial,
 4   suspension or revocation of permit or license), § 821.4 (public employee immunity
 5   for injuries caused by failure to inspect or negligent inspection of property), and
 6   § 821.6 (public employee immunity for injuries caused by instituting or prosecuting
 7   any judicial or administrative proceeding within scope of employment).
 8         Because Plaintiffs have not stated any plausible tort claim, the court will not
 9   analyze the applicability of these immunities at this time.
10         It is recommended that Plaintiffs’ tort claims be dismissed with leave to
11   amend for this additional reason.
12         D. Damages
13         Defendants contend that Plaintiffs cannot seek punitive damages against
14   the City and have not alleged sufficient facts to support a claim for punitive
15   damages from the individual defendants.
16         Punitive damages are not available against a municipal entity or against
17   individual defendants in their official capacity. City of Newport v. Fact Concerts,
18   Inc., 453 U.S. 247, 271 (1981) (“municipality is immune from punitive damages
19   under 42 U.S.C. § 1983”); Mitchell v. Dupnik, 75 F.3d 517, 527 (9th Cir. 1996).
20   (defendants in official capacity are immune from punitive damages). It is
21   recommended that Plaintiffs’ request for punitive damages against the City and
22   Defendants in their official capacity be dismissed without leave to amend because
23   the defect is incurable.
24         Defendants further argue that Plaintiffs’ request for punitive damages
25   against them in their individual capacity is defective because the complaint does
26   not allege facts showing that their conduct was “motivated by evil motive or intent”
27   or “involve[d] reckless or callous indifference to the federally protected rights of
28   others." Smith v. Wade, 461 U.S. 30, 56 (1983). Courts have found that a Rule

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